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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,           Civil Action No. 21-3354 (BAH)

               v.
                                              Judge Beryl A. Howell
 RUDOLPH W. GIULIANI,

                        Defendant.


                    NOTICE OF SATISFACTION OF JUDGMENT

      Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss hereby notify the Court that

Defendant, Rudolph W. Giuliani has fully satisfied the Final Judgment entered December 18,

2023. Docket No. 142.

                                                       Respectfully submitted,

Dated: February 24, 2025                               s/ Aaron E. Nathan
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